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F/F_§'D :“"L__S/ n h

uNITED sTATEs DisTRICT CoURT
WESTERN DISTRICT oF TENNESSEE
EAsTERN DIvIsloN

UNITED STATES OF AMERICA
upon the relation and
for the use of the ,
TENNESSEE VALLEY AUTHORITY
Plaintiff

 

V- NO. 1-04-13‘17-T/AN

AN EASEMENT AND RIGHT-OF-
WAY OVER 1.85 ACRE OF LAND,
MC)RE OR LESS, IN HARDIN
COUNTY, TENNESSEE

EDNA E_ WHITE

LEvA M. _WHITE

vIRGiNIA’ WHITE HARDIMAN
BETTY WHITE WRIGHT
JOHNNY F. WHITE

PAULINE WHITE NEWMAN
LAWRENCE A. WHITE

BoYD WHITE

Defendants

 

 

.IUDGMENT ANI) ORDER DISBURSING FUNDS

 

This action Came on to be considered, and it appears to the Court, as
evidenced by the signature of Plaintiff`s counsel below and by the stipulations of
the Defendants filed herein, that the parties have agreed to resolve this action as
hereinafter provided

lt is, therefore, Ordered and Adjudged that;

This document entered on the docket sheet in compliance f n
with Ftule 58 and,‘or_?§ (a) FHCP on 010 ' gpi ` aj ( 71
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l. The Defendants shall recover of the Plaintiff $7,326 as full
compensation for the taking of the easement and right-of-way herein condemned,
which amount has been deposited by the Plainti`ff with the registry of this Court
in this action.

2. The vesting of title in the United States of America, free of all
liens, claims, and encumbrances, as evidenced by the Declaration of Taking
filed herein on December 3, 2004, is hereby fully and finally confirmed with
respect to the easement and ri ght-of-way described in Exhibit A attached hereto
and made a part hereof (said description being the same as in Exhibit A
attached to the Complaint and Declaration of Taking filed herein).

3. Based on the representation of (a) Defendant Johnny F. White by
letter filed herein dated December lO, 2004, and (b) Plairitiff through the
signature Of` its counsel below, the John White referred to in the lRS tax lien
described in paragraph 6 and Exhibit B of the Complaint is not Defendant
Johnny F. White. Said lRS lien thus does not apply to the distribution of fiinds
to said Defendant provided for in paragraph 5 below.

4. The Clerk of this Court is authorized and directed to draw eight
checks on the funds on deposit in the registry of this Court in the total amount

of $7,326 and to mail Said checks as provided below:

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Payee Amount
Edna E. White $915.75
Leva M. White $915.75

Virginia White Hardiman $915.75

Betty White Wright $915.75
Johnny F. White 3915.75
Pauline White Newman $915.75
Lawrence A. White 13915.75
Boyd white $915.75

l\/lailing Address

P.O. Box 512
Savannah, Tennessce 38372

839 West Alabama Street
Florence, Alabama 35630

213 Shoals Boulevard
Florence, Alabama 35630

300 Graiidview Drive
Lawrenceburg, Tennessee 38464

1255 County Home Road
Savannah, Tennessee 38372

106 Delaune Avenue
Schriever, Louisiana 703 95

903 West White Tail Drive
Granbury, Texas 76048

55584 Apple Road North
Osceola, lndiana 46561

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6. The Clerk of this C ourt shall furnish to the Plaintif`f a certified
copy of` this Judgment and Order Disbursin g Funds which shall serve as a

muniment of title. /b/

This 23 /day of Q(/“M/L/ ,20()5.
a . M\

Un' States District Judgc

Approved:

£¢,QB LU >g/:r'»¢\»!£

Edwin W. Small

Assistant General Counsel
Tennessee Valley Authority

400 West Sumn‘iit Hill Drive
Knoxville, Tennessee 37901-1401
Tennessee BPR No. 012347
Telephone 865-632-3021
Facsimile 865-632-6718

Attorney for Plaintiff`
0{)3735254

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TRACT NO. PSTES-S

A permanent easement and right-of-way, consisting of the perpetual right to enter
and to erect, maintain, repair, rebuild, operate, and patrol lines of transmission line
structures with wires and cables for electric power circuits and communication
circuits, and all necessary appurtenances, in, on, over, and across said right-of-way,
together with the right to clear said right-of-way and keep the same clear of all
trees, brush, buildings, si gnboards, billboards, and fire hazards, to destroy or
otherwise dispose of such trees and brush, and to remove, destroy, or otherwise
dispose of any trees located beyond the limits of said right-of-way which iii falling
could come within five feet of any transmission line structure or conductor located
thereon, the Plaintiff to remain liable for any direct physical damage to the land,
annual crops, fences, and roads resulting directly from the operations of the
construction and maintenance forces of Plaintiff in and about the erection and

maintenance thereof, all upon, under, over, and across the following-described
land:

TRACT NO. PSTES-S

A strip of land located in the Fourth Civil District of Hardin County, State of
Tennessee, as shown on a map entitled “Pickwick-Savannah (East) Transmission
Line Tap to East Savannah,” drawing LW~5386, sheet 6B, R.0, the portion of said
map which shows said strip of land being attached to the Declaration of Taking
filed herein, the said strip being 100 feet wide, lying 50 feet on each side of the
centerline of the transmission line location, the centerline of the location and the
end boundaries of said strip of land being more particularly described as follows:

Beginning at a point where the centerline of the transmission line location crosses
the west property line of the land of Edna E. White, et al., and the east property
line of the land ofJerry Williarns, et ux., at survey station 124+43_40, said point
being N. 21 ° 44' 33" W., 95 feet from an iron pin property corner common between
the lands of Edna E. White, et al., and Jerry Williams, et ux., said strip being bound
on the west end by said property line; thence leaving said point and with the
centerline ofthe said location N. 310 47' 10" E., 804.70 feet to a point, said point
being in the east fenced property line of the land of Edna E. White, et al., and in

the west fenced property line of the land of Willard Bevis, Jr. et ux., at survey
station 132+48.10, said point being N. 90 28' 57" E., 178 feet from a property
corner common between the lands of Edna E. White, et al., and Willard Bevis,

Jr., et uX., said strip being bound on the east end by said fenced property line.

EXHIBIT A
PAGE l OF 2 PAGES

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TRACT NO. PSTES-S

The above-described strip of land includes the centerline of the transmission line
location for a net distance of 804.70 feet and contains 1.85 acre, more or less.

Recording lnformation: Defendants/landowners as of the date of the filing of
the Declaration of Tal<ing j Edna E. White, Leva l\/l. White, Virginia White
Hardiman, Betty White Wright, Johnny F. White, Pauline White Newman, and
Lawrence A. White (an undivided 15/1 12 interest each _- Dced Book 106,
page 218, intestate succession from their father, P. E. White, and Will Bool< 7,
page 119), and Boyd White (an undivided 7/1 12 interest _ said deed and
intestate succession from his father, P. E. White). Tax map 90, parcel 100.

EXHIBIT A
PAGE 2 OF 2 PAGES

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case l:04-CV-01317 Was distributed by faX, mail, or direct printing on
.lune 27, 2005 to the parties listed.

ESSEE

 

Philip .l Pfeifer

TENNESSEE VALLEY AUTHORITY
400 W. Summit Hill Dr.

Knoxville7 TN 37902--140

.lohnny F. White
1255 County Home Rd.
Savannah, TN 38372

Edwin W. Small

TENNESSEE VALLEY AUTHORITY
400 W. Summit Hill Dr.

Knoxville7 TN 37902--140

Honorable .l ames Todd
US DISTRICT COURT

